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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION


  UNITED STATES OF AMERICA
                                                           Case No.: 9:22-mj-08332-BER
                     v.

  SEALED SEARCH WARRANT
                                                     /

       MOTION OF THE WASHINGTON POST, CNN, NBC NEWS, AND SCRIPPS
       TO INTERVENE, FOR ACCESS TO ALL SEARCH WARRANT RECORDS,
     AND IN SUPPORT OF THE UNITED STATES’ PARTIAL MOTION TO UNSEAL

         As the United States informed the Court today in seeking to partially unseal records:

  “The public’s clear and powerful interest in understanding what occurred in these circumstances

  weighs heavily in favor of unsealing.” ECF No. 18 at 4. Indeed, that “clear and powerful

  interest” in understanding these unprecedented events “weighs heavily in favor of unsealing” the

  entire record filed with this Court.

         Before the events of this week, not since the Nixon Administration had the federal

  government wielded its power to seize records from a former President in such a public fashion.

  Because of the historic importance of these events, WP Company LLC d/b/a The Washington

  Post, Cable News Network, Inc. (“CNN”), NBCUniversal Media, LLC d/b/a NBC News, and the

  E.W. Scripps Company (“Scripps”) (together, the “Media Intervenors”) move to intervene in this

  matter for the limited purpose of (1) seeking an order unsealing and providing public access to

  all documents filed with this Court related to the search warrant executed on August 8, 2022 at

  former President Donald J. Trump’s residence at the Mar-a-Lago Club in Palm Beach (the

  “Search Warrant Records”); (2) supporting the United States’ Motion to Unseal Limited Warrant

  Materials filed this afternoon. ECF No. 18.
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         Specifically, the Media Intervenors seek access to the following Search Warrant Records:

  (1) the search warrants with Attachments A and B as identified in the United States’ Motion; (2)

  the warrant application; (3) all probable cause affidavits filed in support of the search warrant;

  (4) any motion to seal the warrant-related records; (5) any order sealing the warrant-related

  records; (6) any search warrant return; and (7) any other records filed with this Court in

  connection with the search warrant. The Media Intervenors are news organizations and are

  entitled, as members of the public, to view judicial records. The tremendous public interest in

  these records in particular outweighs any purported interest in keeping them secret.

                                     MEMORANDUM OF LAW

  I.     BACKGROUND

         On the morning of August 8, 2022, agents from the Federal Bureau of Investigation

  (“FBI”) arrived at former President Donald J. Trump’s home at Mar-a-Lago and, over the course

  of several hours, executed a search warrant and seized multiple boxes of records.1 The search, as

  it should be, has been the subject of massive media reporting in the days since. Trump himself

  quickly confirmed the search,2 and he and his supporters, including Members of Congress, have

  condemned the FBI’s actions as a political “witch hunt.”3




  1
    Kaitlan Collins, et al., FBI executes search warrant at Trump’s Mar-a-Lago in document
  investigation, CNN (Aug. 9, 2022), https://www.cnn.com/2022/08/08/politics/mar-a-lago-search-
  warrant-fbi-donald-trump/index.html.
  2
    Marc Caputo and Ryan J. Reilly, FBI search at Trump’s Mar-a-Lago home tied to classified
  material, sources say, NBC NEWS (Aug. 8, 2022), https://www.nbcnews.com/politics/donald-
  trump/trump-says-mar-lago-home-was-raided-large-group-fbi-agents-rcna42133.
  3
   Sarah N. Lynch and Karen Freifeld, Trump uses FBI search of his Mar-a-Lago home to solicit
  campaign donations, REUTERS (Aug. 9, 2022), https://www.reuters.com/legal/trump-seeks-raise-
  money-off-news-fbi-search-his-florida-home-2022-08-09/.



                                                    2
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            According to Trump’s lawyer, the warrant was aimed at finding classified documents that

  allegedly were removed from the White House and brought to Mar-a-Lago in violation of federal

  law.4 Federal agents reportedly broke a lock, opened the former President’s safe, riffled through

  closets, and seized approximately 12 boxes of documents containing what may be highly

  sensitive, classified records.5 The materials that may have unlawfully been removed implicate

  Trump in potential violations of the Presidential Records Act and laws governing the handling of

  classified materials.6 Not since the Nixon Administration7 has a President been the subject of

  such a dramatic and public criminal process. The Media Intervenors are among the news

  organizations that have reported on the search and are attempting to shed light on the federal

  government’s unprecedented actions and motivations.

  II.       ARGUMENT

            A.     The Media Intervenors Have Standing to Intervene in this Matter.

            As the Eleventh Circuit has recognized, “[t]he press has standing to intervene in actions

  to which it is otherwise not a party in order to petition for access to court proceedings and

  records.” Comm’r, Ala. Dep’t of Corr. v. Advance Local Media, LLC, 918 F.3d 1161, 1170

  (11th Cir. 2019); see also Newman v. Graddick, 696 F.2d 796, 800 (11th Cir. 1983). The Media

  Intervenors are news organizations that have been covering the execution of the search warrant at




  4
    Devlin Barrett, et al., Mar-a-Lago search appears focused on whether Trump, aides withheld
  items, WASHINGTON POST (Aug. 9, 2022), https://www.washingtonpost.com/national-
  security/2022/08/09/trump-fbi-search-mar-a-lago/.
  5
      Id.
  6
      Id.
  7
   See, e.g., Nixon v. Warner Commc’ns Inc., 435 U.S. 589 (1978); United States v. Nixon, 418
  U.S. 683 (1974).



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  Mar-a-Lago, and they therefore have standing to intervene for the limited purpose of seeking

  access to the Search Warrant Records.

         B.      The Court Should Unseal All of the Search Warrant Records.

                 1.      The Search Warrant Materials Are Judicial Records to Which the
                         Public Has a Presumptive Right of Access.

         Both the First Amendment and the common law protect the media and the general

  public’s right of access to judicial proceedings and records. See Chicago Tribune Co. v.

  Bridgestone/Firestone, Inc., 263 F.3d 1304, 1310-11 (11th Cir. 2001). The Eleventh Circuit “has

  been resolute” in enforcing the “presumption of public access” to judicial records because

  “access to judicial proceedings is crucial to our tradition and history, as well as to continued

  public confidence in our system of justice.” Callahan v. United Network for Organ Sharing, 17

  F.4th 1356, 1358-59 (11th Cir. 2021). Search warrants and the documents filed in support of

  search warrant applications are judicial records entitled to this presumption of access. See, e.g.,

  United States v. Peterson, 627 F. Supp. 2d 1359, 1374 (M.D. Ga. 2008); United States v. Vives,

  2006 U.S. Dist. LEXIS 92973, at *2-3 (S.D. Fla. Dec. 21, 2006); In re Four Search Warrants,

  945 F. Supp. 1563, 1567 (N.D. Ga. 1996); In re Search of Office Suites for World & Islam

  Studies Enter., 925 F. Supp. 738, 742 (M.D. Fla. 1996); United States v. Shenberg, 791 F. Supp.

  292, 293 (S.D. Fla. 1991).8 As one court has explained, “public access to documents filed in

  support of search warrants is important to the public’s understanding of the function and

  operation of the judicial process and the criminal justice system and may operate as a curb on




  8
    See also, e.g., L.A. Times Commcn’s, LLC v. United States (In re L.A. Times Commc’ns LLC),
  28 F.4th 292, 297 (D.C. Cir. 2022); United States v. Sealed Search Warrants, 868 F.3d 385, 396
  (5th Cir. 2017); Baltimore Sun Co. v. Goetz, 886 F.2d 60, 64 (4th Cir. 1989); In re Search
  Warrant for Secretarial Area Outside Office of Gunn (“Gunn”), 855 F.2d 569, 573 (8th Cir.
  1988).



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  prosecutorial or judicial misconduct.” Gunn, 855 F.2d at 573. Thus, in general, “once the

  warrant and application have been returned to the court, the public and press should have full

  access.” In re Search of Office Suites, 925 F. Supp. at 742.

                 2.      The Government Has Acknowledged that the Presumption of Public
                         Access Outweighs Other Interests Here.

         Ordinarily, in addressing motions like this one, the Court puts the government to the test

  of satisfying its burden to demonstrate that access should be denied, given the presumption of

  access that attaches to search warrant records. See Peterson, 627 F. Supp. 2d at 1374 (granting

  motion to unseal where government “failed to articulate a sufficient reason to keep the warrant

  and affidavit under seal”); In re Search of Office Suites, 925 F. Supp. at 742 (government must

  show “compelling reasons” for sealing of search warrant materials); Vives, 2006 U.S. Dist.

  LEXIS 92973, at *3 (government must show that “sealing is essential to preserve higher

  values”). In every case, and for every item of information, the government’s arguments for

  sealing must be “supported by the record.” Newman, 696 F.2d at 803. The Court then

  undertakes this analysis for each document sought to be sealed. See, e.g., Chicago Tribune Co.,

  263 F.3d at 1314-15 (holding that district court failed to make sufficient factual findings

  regarding “specific documents” and directing it to consider “the nature and character of the

  information in question,” supporting its decision “by findings of fact”); In re Search of Wellcare

  Health Plans, Inc., 2007 U.S. Dist. LEXIS 88804 (M.D. Fla. Nov. 29, 2007) (assessing each

  warrant document separately and determining that certain ones should be public); Vives, 2006

  U.S. Dist. LEXIS 92973, at *2-5 (analyzing request to unseal various docket entries on

  document-by-document basis and unsealing, with minor redactions, draft of warrant and search

  warrant affidavit); In re Search of Office Suites, 925 F. Supp at 739 (unsealing affidavit and

  order sealing affidavit in support of search warrant while sealing affidavit itself).



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         In evaluating whether there is good cause to overcome the presumption of access, courts

  consider factors including “whether the records are sought for such illegitimate purposes as to

  promote public scandal or gain unfair commercial advantage, whether access is likely to promote

  public understanding of historically significant events, and whether the press has already been

  permitted substantial access to the contents of the records.” Comm’r, Ala. Dep’t of Corr., 918

  F.3d at 1169. Courts also consider “whether allowing access would impair court functions or

  harm legitimate privacy interests, the degree of and likelihood of injury if made public, the

  reliability of the information, whether there will be an opportunity to respond to the information,

  [and] whether the information concerns public officials or public concerns.” Romero v.

  Drummond Co., 480 F.3d 1234, 1246 (11th Cir. 2007).

         Today’s press conference by United States Attorney General Merrick Garland, and the

  United States’ motion to unseal, make the Court’s work in balancing interests far easier. The

  government has, to its credit, affirmatively acknowledged the “public’s clear and powerful

  interest in understanding what occurred” with respect to the search of Trump’s home, and that

  the public’s interest “weighs heavily in favor of unsealing.” ECF No. 18 at 4. The government’s

  position strongly supports the Media Intervenors’ and public’s right of access to all Search

  Warrant Records.

                 3.      Trump’s Reaction to the Search Also Supports Public Access to
                         Records of this “Historically Significant” Event.

         Here, there could not be a more “historically significant event” than an FBI raid of a

  former President’s home for the alleged removal of national security records after leaving office.

  The Media Intervenors certainly do not seek these records for any illegitimate purpose. To the

  contrary, public access to these records will promote public understanding of this historically

  significant, unprecedented execution of a search warrant in the residence of a former President.



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            Moreover, Trump and his attorneys have already publicly disclosed information about the

  subject matter of the search warrant, including that it relates to the recovery of presidential

  documents and is based on possible violations of the Presidential Records Act and laws

  concerning the handling of classified material.9 In the words of the government, “the occurrence

  of the search and indications of the subject matter involved are already public.” ECF No. 18 at

  3.

            Indeed, Trump himself has been aggressively public in discussing the search. Shortly

  after the search concluded, he condemned the raid in a public statement, claiming that he had

  been “working and cooperating with the relevant Government agencies” and charging that

  investigators “even broke into my safe!”10




  9
      Barrett, et al., supra note 4.
  10
     See Donald J. Trump (@realDonaldTrump), TRUTH SOCIAL (Aug. 8, 2022),
  https://truthsocial.com/@realDonaldTrump/posts/108789700493889917.



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         Given the former President’s own public discussion, the seriousness of the allegations

  against him, and the condemnations of law enforcement by his supporters, disclosure of the

  Search Warrant Records could not be more in the public interest. Trump can hardly claim that

  his reputational or privacy interests would be harmed by public review of what he characterizes

  as a “witch hunt.” Transparency of the search warrant process, especially here, clearly would

  “operate as a curb on prosecutorial or judicial misconduct,” as the former President and his

  supporters have alleged. Gunn, 855 F.2d at 573. Transparency would also shed light on the

  basis for the FBI raid, including whether it resulted from credible information that the former




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  President may have committed violations of federal law. Therefore, to the extent that the

  government’s motion to unseal does not include the supporting affidavits or any other materials

  filed in connection with the search warrant, the Media Intervenors request that those Search

  Warrant Records also be unsealed.

                 4.      Narrow Redactions, Based on Compelling Evidence and Approved by
                         the Court, Would Satisfy Any Ongoing Law Enforcement Interest.

         Even when the government can demonstrate compelling interests, the court must examine

  “whether there are alternative means available” to address them, such as redaction of a document

  rather than sealing it in its entirety. In re Search of Office Suites, 925 F. Supp. at 743; see also

  Romero, 480 F.3d at 1246 (courts consider “the availability of a less onerous alternative to

  sealing the documents”); Vives, 2006 U.S. Dist. LEXIS 92973, at *3 (restrictions on access must

  be “narrowly tailored to serve the interest” identified). In Vives, for example, the court unsealed

  an affidavit in support of a search warrant but permitted redaction of a confidential informant

  number because release of that information “could hinder government investigations and lead to

  the identification of a cooperating witness.” Id.

         Here, much of the information about the locations within Mar-a-Lago that were searched,

  the former President’s alleged “cooperation” with the investigation, the nature of the documents

  sought, and the documents seized, are already public. Any compelling government interest in

  the ongoing investigation that the government can demonstrate through competent, compelling

  proof can and should be satisfied with narrow redactions before the Court orders the remainder

  released. In recognition of this principle, the government in this matter has requested that the

  property receipt listing items seized pursuant to the search be redacted “to remove the names of

  law enforcement personnel who executed the search,” rather than sealed in its entirety. ECF No.




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   18 at 2 & n.2. As the law requires, the Court should make as much of the Search Warrant

   Materials available to the public as possible.

   III.   CONCLUSION

          For the foregoing reasons, the Media Intervenors respectfully request that the Court grant

   their motion to intervene and unseal any and all Search Warrant Records.

                                     REQUEST FOR HEARING

          Pursuant to Local Rule 7.1(b)(2), the Media Intervenors request that the Court set a

   hearing on this motion. In light of the Court’s task in reviewing the interests that the government

   or Trump may assert, considering the many facts already publicly known about the investigation

   of Trump, and weighing the colossal public interest in the records, a public hearing would assist

   the Court and further the public’s interest in transparency. The Media Intervenors estimate that

   the time required for argument would be one hour.

                      CERTIFICATION OF GOOD-FAITH CONFERENCE

          Pursuant to Local Rules 7.1(b)(2) and 88.9(a), undersigned counsel certifies that on the

   morning of August 11, 2022, he made reasonable efforts to confer with the United States

   Attorney’s Office for the Southern District of Florida, including leaving voicemail messages

   with the West Palm Beach office and the Public Information Officer and sending an email to the

   Public Information Officer. Later that morning, the Public Information Officer courteously

   responded by email that she would discuss the government’s position with the relevant attorneys

   and be in touch with a response. At the time of this filing, undersigned counsel has received no

   further communications from the government, but the government has made its position clear

   through its motion to unseal limited Search Warrant Records. ECF No. 18.




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    Dated: August 11, 2022     Respectfully submitted,

                               BALLARD SPAHR LLP

                               By:     /s/ Charles D. Tobin
                                     Charles D. Tobin
                                     Florida Bar No. 816345
                                     1909 K Street NW, 12th Floor
                                     Washington, DC 20006
                                     Telephone: 202.661.2218
                                     Facsimile: 202.661.2299
                                     tobinc@ballarspahr.com

                                     Elizabeth Seidlin-Bernstein (pro hac vice forthcoming)
                                     1735 Market Street, 51st Floor
                                     Philadelphia, PA 19103-7599
                                     Telephone: 215.665.8500
                                     Facsimile: 215.864.8999
                                     seidline@ballardspahr.com

                                Attorneys for Proposed Intervenors WP Company LLC,
                                Cable News Network, Inc., NBCUniversal Media, LLC, and
                                the E.W. Scripps Company




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